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                       UNITED STATES BANKRUPTCY COURT
                                District of Delaware
                            824 Market Street, 3rd Floor
                               Wilmington, DE 19801


In Re:                                                    Chapter: 11
Near Intelligence, Inc.
100 W Walnut St.
Suite A−4
Pasadena, CA 91124
 EIN: 85−3187857                                          Case No.: 23−11962−TMH
Kludeln I Acquisition Corp.




                                            NOTICE OF HEARING


A hearing on Brian Nash's Motion for Relief from Stay is scheduled for 1/11/24 at 01:00 PM at the United States
Bankruptcy Court, 824 Market Street, 5th Floor, Courtroom #4, Wilmington, DE 19801 . Objections are due on or
before 1/16/24 .




                                                                              Una O'Boyle, Clerk of Court


Dated: 1/9/24

(VAN−401)
